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           Exhibit P
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Local Form 3015-1 (12/17)
                                                                        UNITED STATES BANKRUPTCY COURT
                                                                     DISTRICT OF MINNESOTA FOURTH DIVISION

 In re:
 GLEN W SIMONDS                                                                                        Case no.:
 JENNIFER A SIMONDS                                                                                    CHAPTER 13 PLAN         Modified
                                                                                                       Dated: February 7, 2018

 Debtor.
 In a joint case, debtor means debtors in this plan.

Part 1. NOTICE OF NON-STANDARD PLAN PROVISIONS, SECURED CLAIM LIMITATIONS, AND LIEN OR SECURITY
INTEREST AVOIDANCE: Debtors must check the appropriate boxes below to state whether or not the plan includes each of the following
items:

  1.1      A limit on the amount of a secured claim based on a valuation of the                 Included                      Not included
           collateral for the claim, set out in Parts 9 or 17

  1.2      Avoidance of a security interest or lien, set out in Part 17                         Included                      Not included

  1.3      Nonstandard provisions, set out in Part 17                                           Included                      Not included

Part 2. DEBTOR'S PAYMENTS TO TRUSTEE
       2.1 As of the date of this plan, the debtor has paid the trustee $ .
       2.2 After the date of this plan, the debtor will pay the trustee $534.00 per month for 36 months beginning May 2018 for a total of $19,224.00.
           The initial plan payment is due not later than 30 days after the order for relief.
       2.3 The minimum plan length is         36 months or      60 months from the date of the initial plan payment unless all allowed claims are paid in
           a shorter time.
       2.4 The debtor will also pay the trustee:
       2.5 The debtor will pay the trustee a total of $ 19,224.00 [lines 2.1 + 2.2 + 2.4]
Part 3. PAYMENTS BY TRUSTEE — The trustee will make payments only to creditors for which proofs of claim have been filed. The trustee
    may collect a fee of up to 10% of plan payments, or $ 1,923.00 [line 2.5 x .10]
Part 4. ADEQUATE PROTECTION PAYMENTS (§ 1326(a)(1(C)) — The trustee will promptly pay from available funds adequate protection
    payments to creditors holding allowed claims secured by personal property, according to the following schedule, beginning in month one (1).
                       Creditor                     Monthly Payment                Number of Months                      Total Payments
       -NONE-
       TOTAL                                                                                                                                $0.00

Part 5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [§ 365] — The debtor assumes the following executory contracts or
    unexpired leases. Debtor will pay directly to creditors all payments that come due after the date the petition was filed. Cure provisions, if any,
    are set forth in Part 8.

                                                   Creditor                                                  Description of Property
           -NONE-

Part 6. CLAIMS NOT IN DEFAULT — Payments on the following claims are current and the debtor will pay directly to creditors all payments
    that come due after the date the petition was filed. The creditors will retain liens, if any.

                              Creditor                                                                      Description of Property
 6.2       CHASE                                                                        Homestead: 8117 ASTER DR BROOKLYN PARK, MN 55428
 6.3       HENNEPIN COUNTY PROPERTY TAX                                                 Homestead: 8117 ASTER DR BROOKLYN PARK, MN 55428

Part 7. HOME MORTGAGES IN DEFAULT (§§ 1322(b)(5) and 1322(e)) — The trustee will cure payment defaults on the following claims
    secured only by a security interest in real property that is the debtor's principal residence. The debtor will pay directly to creditors all payments
    that come due after the date the petition was filed. The creditors will retain liens. All following entries are estimates. The trustee will pay the
    actual amounts of default.

                                                                         Amount of         Monthly         Beginning in     Number of
                               Creditor                                   default          payment           month #        payments          Total payments
           -NONE-
           TOTAL




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Part 8. CLAIMS IN DEFAULT (§§ 1322 (b)(3) and (5) and 1322(e)): The trustee will cure payment defaults on the following claims as set forth
    below. The debtor will pay directly to creditors all payments that come due after the date the petition was filed. The creditors will retain liens, if
    any. All following entries are estimates, except for interest rate.

                                                        Amount of                 Interest rate        Monthly          Beginning in      Number of
                       Creditor                          default                    (if any)           payment            month #         payments         Total payments
           -NONE-
           TOTAL                                                                                                                                                           $0.00

Part 9. SECURED CLAIMS SUBJECT TO MODIFICATION (“CRAMDOWN”) PURSUANT TO § 506 (§ 1325(a)(5)) (secured claim
amounts in plan this Part control over any contrary amount except for secured claims of governmental units): The trustee will pay, on account
of the following allowed secured claims, the amount set forth in the “Total Payments” column below. Unless otherwise specified in Part 17, the
creditors will retain liens securing the allowed secured claims until the earlier of the payment of the underlying debt determined under nonbankruptcy
law, or the date of the debtor’s discharge, and if this case is dismissed or converted without completion of the plan, such liens shall also be retained
by such holders to the extent recognized by applicable nonbankruptcy law. Notwithstanding a creditor’s proof of claim filed before or after
confirmation, the amount listed in this Part as a creditor’s secured claim binds the creditor pursuant to 11 U.S.C. § 1327 and confirmation of
the plan is a determination of the creditor’s allowed secured claim. For secured claims of governmental units, unless otherwise ordered by the
court, the value of a secured claim listed in a proof of claim filed in accordance with FRBP 3012(c) controls over any contrary amount.

                                                                                                                         X
                                                                                         Begin-                        Numbe                       +
                                                                                         ning in                        r of                   Adq. Pro.
                                       Claim                Secured             Interest month         (Monthly        payme       =           from Part            =
               Creditor               amount                 Claim               Rate       #          payment)         nts) Plan payments         4         Total payments
           -NONE-                                                                                  $
           TOTAL                                                                                                                                                           $0.00

Part 10. SECURED CLAIMS EXCLUDED FROM § 506 AND NOT SUBJECT TO MODIFICATION (“CRAMDOWN”) (§ 1325) (910
vehicles and other things of value)(allowed filed secured claim controls over any contrary amount): The trustee will pay in full the amount of
the following allowed secured claims. All following entries are estimates, except for interest rate. The creditors will retain liens. Unmodified 910
claims not in default are addressed in Part 6. Unmodified 910 claims in default are addressed in Part 8.

                                                                                                                                                   +
                                                                                                                          X           =        Adq. Pro.
                                                             Claim              Interest Beginning      (Monthly       Number of     Plan      from Part            =
                         Creditor                           amount               Rate in month #        payment)       payments)   payments        4         Total payments
           -NONE-
           TOTAL                                                                                                                                                           $0.00

Part 11. PRIORITY CLAIMS (not including claims under Part 12): The trustee will pay in full all claims entitled to priority under § 507(a)(2)
    through (a)(10), including the following. The amounts listed are estimates. The trustee will pay the amounts actually allowed.

                                                                                    Estimated              Monthly          Beginning in Number of
           Creditor                                                                     Claim              payment              Month # payments              Total payments
 11.1      Attorney Fees                                                            $6,999.00              $480.00                     1       15                    $6,999.00
 11.2      IRS                                                                      $3,884.00               pro rata                                                 $3,884.00
 11.3      MN DEPT OF REVENUE                                                        $810.00                pro rata                                                   $810.00
           TOTAL                                                                                                                                                    $11,693.00

Part 12. DOMESTIC SUPPORT OBLIGATION CLAIMS: The trustee will pay in full all domestic support obligation claims entitled to priority
under § 507(a)(1), including the following. The amounts listed are estimates. The trustee will pay the amounts actually allowed.
                                                                                    Estimated                     Monthly Beginning in Number of
           Creditor                                                                     Claim                     payment  Month #     payments               Total payments
           -NONE-
           TOTAL                                                                                                                                                               $0.00

Part 13. SEPARATE CLASSES OF UNSECURED CLAIMS — In addition to the class of unsecured claims specified in Part 14, there shall be
    separate classes of non-priority unsecured creditors described as follows: -NONE-
    The trustee will pay the allowed claims of the following creditors. All entries below are estimates.

                                                                     Interest
                                                                       Rate                                      Monthly   Beginning in    Number of                TOTAL
           Creditor                                                  (if any)         Claim Amount               Payment     Month #       Payments              PAYMENTS
           -NONE-
           TOTAL                                                                                                                                                          $0.00

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Part 14. TIMELY FILED UNSECURED CLAIMS — The trustee will pay holders of nonpriority unsecured claims for which proofs of claim
were timely filed the balance of all payments received by the trustee and not paid under Parts 3, 7, 8, 9, 10, 11, 12 and 13 their pro rata share of
approximately $ 5,386.00 [line 2.5 minus totals in Parts 3, 7, 8, 9, 10, 11, 12 and 13].
14.1         The debtor estimates that the total unsecured claims held by creditors listed in Part 9 are $0.00.
14.2         The debtor estimates that the debtor's total unsecured claims (excluding those in Part 9 and 13) are $85,151.00.
14.3         Total estimated unsecured claims are $85,151.00 [lines 14.1 + 14.2].
Part 15. TARDILY-FILED UNSECURED CREDITORS — All money paid by the debtor to the trustee under Part 2, but not distributed by the
trustee under Parts 3, 4, 7, 8, 9, 10, 11, 12, 13 and 14, will be paid to holders of allowed nonpriority unsecured claims for which proofs of claim were
tardily filed.
Part 16. SURRENDER OF COLLATERAL AND REQUEST FOR TERMINATION OF STAY: The debtor has surrendered or will surrender
the following property to the creditor. The debtor requests that the stays under §§ 362(a) and 1301(a) be terminated as to the surrendered collateral
upon confirmation of the plan.

                                                 Creditor                                                 Description of Property
           -NONE-

Part 17. NONSTANDARD PROVISIONS: The Trustee may distribute additional sums not expressly provided for herein at the trustee’s discretion.
Any nonstandard provisions, as defined in FRBP 3015(c), must be in this Part. Any nonstandard provision placed elsewhere in the plan is void. Any
request by the debtor to modify a claim secured only by a security interest in real property that is the debtor’s principal residence must be listed in
this Part and the debtor must bring a motion to determine the value of the secured claim pursuant to Local Rule 3012-1(a).
 17.1 The Debtor's principal residence located at 8117 Aster Drive, Brooklyn Park, MN 55428 and legally described as Lot 4, Block 11, Garden
         Acres Second Addition, Hennepin County, Minnesota (hereinafter "the subject real property") is encumbered by a first mortgage in favor of
         Chase with a balance as of the date of filing of this petition of $158,643.00, and a second mortgage in favor of Wilmington Savings Fund
         Society (hereinafter "second mortgage holder") with a balance as of the date of filing of this petition of $30,980.00. Debtor has obtained an
         independent appraisal of the subject real property on October 18, 2017, which appraised the fair market value of the subject real property as
         $131,928.00. Claims filed by or on behalf of the second mortgage holder are included in the unsecured non-priority class of claims
         described in paragraph 14b, supra., notwithstanding the second mortgage in favor of the second mortgage holder encumbering the subject
         real property. Debtor will file a Motion to Value the Claim of the second mortgage holder to be heard concurrent with the hearing to
         confirm this plan, which will seek to have the claim of the second mortgage holder classified, treated and considered as wholly unsecured
         pursuant to 11 USC 506(a) for purposes of administration of this Chapter 13 plan. Upon completion of all payments by the Debtor due to
         the Trustee under this Plan or any modified Plan, Debtor may request supplemental relief as specified in Local Rule 3012-1


                                                         Class of Payment                                             Amount to be paid

 Payments by trustee's [Part 3]                                                                            $                         1,923.00
 Home Mortgage Defaults [Part 7]                                                                           $                             0.00
 Claims in Default [Part 8]                                                                                $                             0.00
 Secured claims subject to modification (cramdown) pursuant to § 506 [Part 9]                              $                             0.00
 Secured claims excluded from § 506 [Part 10]                                                              $                             0.00
 Priority Claims [Part 11]                                                                                 $                        11,693.00
 Domestic support obligation claims [Part 12]                                                              $                             0.00
 Separate classes of unsecured claims [Part 13]                                                            $                             0.00

 Timely filed unsecured claims [Part 14]                                                                   $                         5,386.00
 TOTAL (must equal line 2.5)                                                                               $                        19,224.00

 Certification regarding nonstandard provisions:
 I certify that this plan contains no nonstandard provision except as            Signed: /s/ GLEN W SIMONDS
 placed in Part 17.                                                                      GLEN W SIMONDS
                                                                                         Debtor 1
 Signed:        /s/ Robert J. Hoglund
                Robert J. Hoglund 210997                                         Signed: /s/ JENNIFER A SIMONDS
                Attorney for debtor or debtor if pro se                                  JENNIFER A SIMONDS
                                                                                         Debtor 2 (if joint case)




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